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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                             Norfolk Division

                                    )
SYMBOLOGY INNOVATIONS, LLC,         )
                                    )
                Plaintiff,          )
v.                                  )
                                             Civil Action No. 2:17-cv-00086
                                    )
LEGO SYSTEMS, INC.,                 )
                                    )
                Defendant.          )
                                    )
                                    )


                MEMORANDUM OF LAW IN SUPPORT OF
                  DEFENDANT LEGO SYSTEMS, INC.’S
             MOTION TO DISMISS PURSUANT TO F.R.C.P 12(b)(6)
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         LEGO Systems, Inc. respectfully submits this memorandum of law in support of its

Motion to Dismiss for Failure to State a Claim, pursuant to Fed .R. Civ. P. 12(b)(6).


                                        BACKGROUND

         On January 3, 2017, Symbology Innovations, LLC (“Symbology”) filed a complaint of

patent infringement against LEGO Systems, Inc. (“LSI”), a wholly-owned U.S. subsidiary of

LEGO System A/S, a Danish company (“LSAS”).               Dkt. No. 1. By way of its complaint,

Symbology alleges that LSI infringes claims 1, 2, 3, 4, 6, 7, 8, 10, 11, 14, 15, 17, and 18 of U.S.

Patent No. 7,992,773 (“‘773 Patent”), claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 15, 17, 18, 23, 24, and

25 of U.S. Patent No. 8,424,752 (“‘752 Patent”), claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 15, 17, 18, 23,

24, and 25 of U.S. Patent No. 8,936,369 (“‘369 Patent”), claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 15, 17,

18, and 20 of U.S. Patent No. 8,936,190 (“‘190 Patent”) (collectively the “Asserted Claims” of

the “Asserted Patents”), each directed to a method and application of detecting and capturing an

“image of symbology (e.g. barcodes)” using a camera on a “portable electronic device.”

(Declaration of Elizabeth Alquist (“Alquist Decl.”), Exhibit 1, ‘773 Patent, at 2:48-54.)1 In

short, the putative invention claimed by the Asserted Patents is related to detecting and

processing symbology, not placing symbology on advertisements or packaging.

         As an initial matter, Symbology’s direct infringement allegations are made against

unidentified products. This alone warrants dismissal. The complaint fails to point out any

specific product, instead referring to what allegedly infringes as “selected products (e.g. Lego

Products),” a term that is not defined and is presumably inclusive of all LSAS products. Dkt. No.

1 at 32. Moreover, Symbology offers no proof that LSI has infringed or continues to infringe the

Asserted Patents in the United States. Rather, it states that LSI has, on information and belief,

1
    The Asserted Patents share a common specification.
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“internally tested the functionality of its QR codes in connection with the printed packaging and

advertisements” of its “Lego Products.” Dkt. No. 1 at ¶¶ 34-36. This is mere speculation.

Symbology’s cursory claim charts are equally speculative. Other than an illegible image of a QR

code and various citations thereto in four cursory claim charts that include two other vague

images, likely from Google image searches, the complaint fails to link any accused product with

the actual elements of the Asserted Claims.

       The indirect infringement allegations fare no better.2 Symbology suggests that LSI

“allows consumers to scan QR codes imprinted on the packaging of Defendant’s products such

as Defendant’s Lego Products.” Dkt. No. 1 at ¶ 38. Symbology’s accusation, however, is pled

incorrectly. In order for Symbology to prove LSI induced customers to infringe under section

271(b), it must plead knowledge of both the asserted patent and the infringing nature of the

accused acts. See Global–Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 765-66 (2011);

Commil USA, LLC v. Cisco Sys., 135 S. Ct. 1920, 1928 (2015) (noting it is “still necessary and

proper to stress that district courts have the authority and responsibility to ensure frivolous cases

are dissuaded). The plaintiff “must prove that once the defendants knew of the patent, they

‘actively and knowingly aid[ed] and abett[ed] another’s direct infringement.’” DSU Med. Corp.

v. JMS Co., 471 F.3d 1293, 1305 (Fed. Cir. 2006).

       As an initial matter, Symbology has not even attempted to allege that LSI had any

knowledge of the Asserted Patents.        For this reason, alone, its pleading fails.     Moreover


2
  There are two types of indirect infringement: induced infringement, under 35 U.S.C. § 271(b),
and contributory infringement, under 35 U.S.C. § 271(c). Symbology does not clearly indicate
which theory of indirect inducement is at issue in this case, but appears to allege induced
infringement. (See Dkt. No. 1 at ¶ 40.) Either type requires knowledge of the patent in suit and
knowledge of patent infringement. Aro Mfg. Co. v. Convertible Top Replacement Co., 377 U.S.
476 (1964).


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Symbology has not alleged, nor could it, that LSI actively and knowingly induced another’s

direct infringement.     Instead, it alleges only that the existence of QR codes “allow[s]”

unidentified customers to scan QR codes. Indeed, it fails even to allege that there are direct

infringers. In short, its indirect infringement allegations fail in all aspects.

        Symbology’s pleading is woefully insufficient under the Supreme Court’s standards as

set forth in Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 546 (2007) and Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). LSI faces a lawsuit without full and clear notice of the accusations against

it and the Court should dismiss these claims for failure to state a claim. If this complaint is

allowed to stand, the result will be an unbounded and costly fishing expedition in search of some

undefined products that do not plausibly infringe the Asserted Patents.

                                       LEGAL STANDARD

        Fed. R. Civ. P. 8(a) requires that a pleading contain, at a minimum, “a short and plain

statement of the claim showing that the pleader is entitled to relief.” The Supreme Court has

interpreted Rule 8 to require that every complaint include “sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. lqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A pleading that offers

labels and conclusions or a formulaic recitation of the elements of a cause of action will not do.

Nor does a complaint suffice if it tenders naked assertion[s] devoid of further factual

enhancement.” lqbal, 556 U.S. at 678.

        Similarly, the Fourth Circuit in deciding motions to dismiss on the basis of insufficient

pleadings, tests “the sufficiency of a complaint.” Occupy Columbia v. Haley, 738 F.3d 107, 116

(4th Cir. 2013). After the abrogation of Fed. R. Civ. P. 84 and Form 18 in December 2015, the

stricter pleading standards set forth in Iqbal and Twombly have been held to establish minimum


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pleading standards for a patent infringement complaint. See, e.g., Asghari-Kamrani v. United

Servs. Auto. Ass'n, 2016 U.S. Dist. LEXIS 48012, at *8-9 (E.D. Va. Mar. 22, 2016).

       There are therefore two basic requirements to comply with Rule 8(a): “factual allegations

and plausibility of those allegations.” Adiscov, LLC v. Autonomy Corp., 762 F. Supp. 2d 826,

829 (E.D. Va. 2011). Thus, pleading all of the elements of a claim is necessary but not sufficient

to survive Rule 8(a). See Twombly, 550 U.S. at 555 (“[A] formulaic recitation of the elements of

a cause of action will not do.”); Adiscov, 762 F. Supp. 2d at 829 (“What, at base, is insufficient is

‘an unadorned, the-defendant-unlawfully-harmed-me accusation.’” (citation omitted)). A

complaint for infringement must “provide sufficient detail about the defendant[] and [its]

products such that the defendant[] would be on notice as to which products or services are the

subject of the suit.” Adiscov, 762 F. Supp. 2d at 832. When reviewing the complaint, the court

must accept “all well-pleaded allegations in the plaintiff’s complaint as true” and draw “all

reasonable factual inferences from those facts in the plaintiff’s favor.” Edwards v. City of

Goldsboro, 178 F.3d 231, 244 (4th Cir. 1999). “Determining whether a complaint states a

plausible claim for relief will . . . be a context-specific task that requires the reviewing court to

draw on its judicial experience and common sense.” Iqbal, 556 U.S. at 679 (citation omitted).

                                          ARGUMENT

       Put simply, Symbology’s pleading of direct and indirect infringement is not plausible

because it presents insufficient factual support about how, where, or when LSI allegedly

practices the claims of the Asserted Patents.




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    I.   Symbology’s Direct Infringement Allegations Are Speculative And Should Be
         Dismissed

         A. Symbology’s Complaint Fails to Allege Sufficient Facts to Establish Its Direct
            Infringement Claims

         As explained at the outset, Symbology has asserted dozens of claims from four Asserted

Patents. Symbology alleges, without a factual basis, that LSI places QR codes on unidentified

products in a manner that is somehow alleged to infringe each Asserted Claim. The complaint,

however, merely refers to “selected products (e.g. Lego Products)”, without defining that term.

Dkt. No. 1 at ¶ 32. And the additional statement that “[o]ne specific example of Defendant’s

activity involves the use of QR codes in printed packaging” does not shed any additional light

because it is unclear what product’s packaging is identified and, besides the existence of the QR

code, how the unidentified product infringes the Asserted Patents.

         Moreover, the Complaint does not differentiate between “Defendant’s Lego Products”

(Dkt. No. 1 at ¶ 35), “Defendant’s products” (Dkt. No. 1 at ¶ 38), and “other products sold to

customers” (id.). See also Dkt. No. 1 at ¶¶ 56, 74, 92. Rather, the complaint is a “cut and paste”

journey, vaguely referencing “one specific example” (Dkt. No. 1 at ¶¶ 35, 53, 71 89) and then

stating “the claim charts show this is plausible” (Dkt. No. 1 at ¶¶39, 57, 75 93). Recitation

without adding any facts fails to advance the complaint beyond the mere formulaic elements of

the causes of action and is impermissible under Twombly.

         Symbology’s Asserted Patents require “an image of symbology (e.g. barcodes)”– but this

is merely one necessary element to be an accused product; it is not sufficient alone to meet any

Asserted Claim. ‘773 Patent at 2:48-54. Barcodes are commonplace on consumer products, and

have been for years and years before these patents’ applications were filed in 2010. Accordingly,




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such a claim is manifestly unfair– LSI cannot be on fair notice of what the claim is and the

grounds upon which it rests. Twombly, 550 U.S. at 555.

       Courts in this District have dismissed similar complaints for similar failures. See, e.g.,

Macronix Int'l Co. v. Spansion Inc., 4 F. Supp. 3d 797, 804 (E.D. Va. 2014) (“[T]he claims for

literal infringement do not allege how the offending products allege the claims recited in the

[complaint]. That allegation is required to put [the defendant] on notice of what it has to defend

and to make a plausible showing of infringement.”); Adiscov, LLC v. Autonomy Corp., 762 F.

Supp. 2d 826, 832 (E.D. Va. 2011) (finding that a complaint for infringement levelled at vague

products and services “does not describe either a category or specific products and services with

the specificity required by Rule 8”). The Adiscov court ultimately dismissed the complaint

because the plaintiff failed to plead sufficient factual content regarding the accused products, the

complaint was akin to “‘an unadorned, the-defendant-unlawfully-harmed-me accusation.’” Id.

(quoting Iqbal, 556 U.S. at 678); compare with Orbcomm Inc. v. Calamp Corp., 2016 U.S. Dist.

LEXIS 96264 (E.D. Va. July 22, 2016) (noting that the plaintiff’s complaint identified the claims

directly, indirectly, and contributorily infringed, specified in detail the accused devices produced

by the defendant, and comparatively particularized the similarities of functions and features of

the relevant patents and related systems.) Plaintiff has failed to the plead the required sufficient

detail here; it categorically identifies “selected products” and fails to specify what is an accused

“Lego Product.”

       B. Symbology’s Cursory Claim Chart Fails to Identify With Sufficient Particularity
          How Each Allegedly Infringing Feature of the Accused Product Infringes the
          Asserted Claims And Does Not Save Its Complaint

       Courts in this District and beyond require patentees to plead sufficient facts to plausibly

allege that each accused product meets each limitation of each asserted claim. See Macronix Int’l


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Co. v. Spansion Inc., 4 F. Supp. 3d 797, 804 (E.D. Va. 2014) (complaint was insufficient when it

did “not allege how the offending products [infringe] the claims recited”); Asghari-Kamrani v.

United Servs. Auto. Ass'n, 2016 U.S. Dist. LEXIS 48012, at *10 (E.D. Va. Mar. 22, 2016)

(plaintiff must “identify with sufficient particularity how each allegedly infringing feature …

infringes the patent,” must “detail how each claim is infringed,” and must describe with

particularity how the accused product meets each limitation). Symbology does not come close to

pleading how each accused product meets each limitation of each claim asserted against it.

           1) The Asserted Claims require that the portable electronic
              device detect symbology associated with an object by an
              individual in the United States

       The Asserted Claims require, inter alia, the use of a portable electronic device [16] to

detect symbology (e.g. barcodes) associated with an object with the digital image in the United

States. ‘773 Patent at 4:33-41. To do so, the user captures an image of the symbology in digital

form using the capture module [72], which is associated with the image capture device [58]. ‘773

Patent at 7:60-63. The capture module includes an image sensor, an analog-to-digital (A/D)

converter and a digital signal processor (DSP). The module is aimed at the image and displayed

on the display module [62]. ‘773 Patent at 7:63-65. The portable electronic device could also use

a scanning module [74] or alternative visual detection modules [76] to capture the symbology.

‘773 Patent at 8:15-45. These features are also demonstrated in Figures 2B and 3 below.




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       In its claim charts, Symbology alleges, without factual detail, that “[o]n information and

belief, Defendant has, at least through internal testing, used or incorporated QR codes in

advertisements and packaging.” Dkt. No. 1 at ¶ 34. However, Symbology has not pled, and

cannot plead, that LSI used or tested the QR code at issue in the United States. Accordingly,

Symbology is unable to provide any facts that would plausibly suggest that LSI practices these

elements of the Asserted Claims in the United States. Because all elements of the Asserted

Claims must be performed in the United States to directly infringe the Asserted Patents,

Symbology’s complaint should be dismissed. A “complaint must contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face.” Iqbal, 556 U.S. at

678 (emphasis added); Rotec Indus. v. Mitsubishi Corp., 215 F.3d 1246, 1251 (Fed. Cir. 2000)

(use of a patented invention must occur within the United States to constitute infringement under

35 U.S.C. § 271(a) “because the right conferred by a patent under our law is confined to the




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United States and its territories, and infringement of this right cannot be predicated of acts

wholly done in a foreign country”).

           2) The Asserted Claims require the portable electronic device to:
              (1) decode the symbology to obtain a decode string; (2) send
              the decode string to one or more visual detection applications;
              (3) receive a first amount of information about the object from
              the visual detection application

       The Asserted Claims require the portable electronic device to decode the symbology to

obtain a decode string. As demonstrated in Figure 7B below, Block 144 shows that the detected

symbology is sent to a visual detection application on the portable electronic device for

“decoding and information retrieval.” ‘773 Patent at 12:31-33. As shown in Block 146 of Figure

7B, the application “and/or related decoding software” decodes the detected symbology and is

configured to receive and store information about the object associated with the symbology

based on the decode string. ‘773 Patent at 12:36-41.




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QReative Image 1




                                               QReative Image 2

       As its sole effort to allege that LSI somehow performs these claim elements, Symbology

incorporates an image (QReative Image 1, shown above), taken from nonparty QReative Mobile

Media’s (“QReative”) webpage. Dkt. No. 1-15 at p.2, Claim 1 preamble evidence; compare with

QReative Image 2 (Alquist Decl., Exhibit 2 (providing the original image and webpage

contents)). Upon information and belief, QReative is a German company located at

Wilhelmshöher Allee 278, Kassel, Germany 34131. Id. The image is excerpted from a webpage

written entirely in German (shown in QReative Image 2 (id.), which presumably describes how

QReative’s QR code-reading technology functions, and provides links to QReative’s QR code

reader application provided for download by i-nigma and 3GVision. (Alquist Decl., Exhibit 3.)

There is no allegation, nor could there be, that LSI has anything to do with QReactive or its

products.

       In other words, Symbology alleges that because QReative’s QR code reader provided by

i-nigma and 3GVision allegedly “Scans” a “QR-Code,” “Decodes” and performs an “Action,”

(all undefined terms), LSI somehow infringes these elements of the Asserted Claims. This is

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folly. Plaintiff has not alleged, nor could it, that LSI is familiar with QReative or i-nigma’s QR

code reader or has ever used its products.3 In short, Symbology has not alleged facts sufficient to

LSI performs these claim elements. This type of speculative, inaccurate pleading is insufficient.

See Boy Blue, Inc. v. Zomba Recording, LLC, 2009 U.S. Dist. LEXIS 84988 (E.D. Va. Sept. 16,

2009) (“[W]here the well-pleaded facts do not permit the court to infer more than the mere

possibility of misconduct, the complaint has alleged– but it has not ‘show[n]’– ‘that the pleader

is entitled to relief.’”) (quoting Iqbal, 556 U.S. at 679).

            3) The Asserted Claims require the portable electronic device to:
               (1) send the decode string to a remote server for processing; (2)
               receive a second amount of information about the object from
               a server; (3) display the combined information.

        The Asserted Claims require the portable electronic device [16] to send the decode string

to a remote server [12], as shown in Figure 1 and Block 148 from Figure 7B, each provided

below. ‘773 Patent at 12:44-45. The server performs a method using the decode string and sends

information back to the portable electronic device. ‘773 Patent at 11:9-54. As indicated in Block

150 and 152 in Figure 7B, the information received from the server is related to the object

identifiable by the decode string and combined with information from the visual detection

application. This information is displayed on a screen, as shown in Block 154 in Figure 7B,

provided below.




3
 Attaching a QR code to product packaging is not enough. See, e.g., Intel Corp. v. Future Link
Sys., LLC, 2015 U.S. Dist. LEXIS 17176, at *25, n.11 (D. Del. Feb. 12, 2015) (“Unlike with a
product claim, making or selling a product that is capable of infringing does not infringe a
method claim.” (citing Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 773 (Fed. Cir. 1993)).


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       In its futile attempt to demonstrate that LSI performs these elements, Symbology again

cobbles together various nonparty images in an attempt to meet the required elements of the

claim, which Symbology seems to suggest can be performed by any application capable of

reading QR codes. For example, rather than alleging how LSI “combines the first amount of

information with the second amount of information to obtain cumulative information” or

“displays the cumulative information on a display device,” Symbology uses a nonparty image,

this time from www.searchenginewatch.com. Dkt. No. 1-5 at p. 15. This image is provided,

more clearly, below.




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          Upon information and belief, searchenginewatch.com is a British website managed by

Blenheim Chalot that provides news about search engines and search engine marketing, fields

unrelated to QR code technology. (Alquist Decl., Exhibit 4.) The same image can be found in a

Tribal Cafe article describing QR codes, generally, and i-nigma’s code generator as a method to

generate a QR code (Alquist Decl., Exhibit 5 at p. 2.) In fact, this image is a stock QR code

image, the very first result of a Google image search using the terms “2d-barcode-scanning-

process.” (Alquist Decl., Exhibit 6.).

          Put simply, Symbology alleges that because, according to a Google image, an

unidentified QR code reader application allegedly has the ability to scan, decode and reveal

content, LSI somehow infringes these elements of the Asserted Claims. This too is folly and

Symbology has not alleged facts sufficient to demonstrate LSI performs these claim elements.

    II.   Symbology’s Indirect Infringement Allegations Lack Any Factual Basis and Should
          Be Dismissed

          Symbology has failed to plead any facts that plausibly show that LSI knew of the

Asserted Patents, aided any customer’s infringement, or knew that any customer’s use of a QR

code constituted infringement. As such, the Court should dismiss the claim for induced

infringement.

          In order to prevail on claims of indirect infringement, Symbology must: (1) demonstrate

direct infringement by a third party (2) establish that LSI possessed the requisite intent to be held

vicariously liable. See e.g., Nielsen Co. (US), LLC v. comScore, Inc., 819 F. Supp. 2d 589, 592

(E.D. Va. 2011); PB & J Software, LLC v. Acronis, Inc., 897 F. Supp. 2d 815, 820-21 (E.D. Mo.

2012) (a complaint must “‘contain facts plausibly showing that [defendants] specifically

intended their customers to infringe the [patent-in-suit] and knew that the customer’s acts

constituted infringement.’” (alterations in original) (quoting R+L Carriers, Inc. v. DriverTech

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(Fed. Cir. 2012)). First, Symbology fails to allege that a third party directly infringes the

Asserted Patents. That, alone, is enough to grant the Motion to Dismiss.

       For the second requirement, establishing the requisite knowledge or intent for induced

infringement “requires a showing that the alleged inducer knew of the patent, knowingly induced

the infringing acts, and possessed a specific intent to encourage another’s infringement of the

patent.” Vita-Mix Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1328 (Fed. Cir. 2009). Specific

intent requires “‘knowledge of the existence of the patent that is infringed.’” Cronos Techs., LLC

v. Camping World Inc., 2013 U.S. Dist. LEXIS 106336, at *10 (W.D. Ky. July 29, 2013)

(quoting Global–Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 765 (2011)). In addition, the

defendant must have knowledge that the induced acts constituted patent infringement. See

Global-Tech Appliances, 563 U.S. at 766 (“[W]e now hold that induced infringement under §

271(b) requires knowledge that the induced acts constitute patent infringement.”). The plaintiff

“must prove that once the defendants knew of the patent, they ‘actively and knowingly aid[ed]

and abett[ed] another’s direct infringement.’” DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1305

(Fed. Cir. 2006) (alterations in original). Symbology does not allege, nor could it, that LSI either

had knowledge of the Asserted Patents or has the requisite specific intent to actively aid and abet

another’s infringement. Symbology alleges indirect infringement of the Asserted Claims “on

information and belief” that LSI “allows consumers to scan QR codes imprinted on the

packaging of Defendant’s products such as Defendant’s Lego Products.” Dkt. No. 1 at ¶ 38. The

Complaint not only fails to allege direct infringement by a third party, but also that LSI was even

aware of these patents at any point prior to the filing of the complaint. Dkt. No. 1 at ¶ 40.

Instead, Symbology at best infers that merely because LSI offers a product for sale with a QR


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code, there must be some customer, somewhere on the planet, using the QR codes in such a way

as to infringe the Asserted Patents. This type of speculative, inaccurate pleading is insufficient,

especially for indirect infringement claims. See e.g., Boy Blue, Inc. v. Zomba Recording, LLC,

2009 U.S. Dist. LEXIS 84988 (E.D. Va. Sept. 16, 2009).

                                        CONCLUSION

       Symbology has not alleged sufficient facts to meet the minimum pleading requirements

of Rule 8, Rule 12, and Supreme Court precedent construing those rules. Accordingly, LSI

respectfully requests that Symbology’s complaint be dismissed in its entirety.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of April , 2017, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

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